AO 245D (W D N C R ev. 4/04) Judgm ent in a Crim inal C ase for R evocation



                                        UNITED STATES DISTRICT COURT
                                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
UNITED STATES OF AMERICA                                                      JUDGMENT IN A CRIMINAL CASE
                                                                              (For Revocation of Probation or Supervised Release)
          V.                                                                  (For Offenses Committed On or After November 1, 1987)



ROBERT JOHN DAVIDGE                                                           Case Num ber: DNCW 104CR000117-008
                                                                              USM Num ber: 18774-058
                                                                              W illiam E. Loose
                                                                              Defendant’s Attorney

THE DEFENDANT:
X     adm itted guilt to violation of condition(s) 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12 & 13 of the term of supervision.
      W as found in violation of condition(s) count(s)            After denial of guilt.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violations(s):
                                                                                                    Date Violation
 Violation Num ber                    Nature of Violation                                           Concluded

 1                                    Drug/Alcohol Use                                              05/17/2011

 2                                    Other: Mental health evaluation/treatm ent program            01/07/2011

 3                                    Failure to Make Required Court Paym ents                      05/14/2011

 4                                    Failure to Report to Probation Officer as Instructed          04/04/2011

 5                                    Failure to Report Change in Em ploym ent                      10/05/2009

 6, 7 and 8                           Failure to Report Contact with Law Enforcem ent               02/10/2011
                                      Officer                                                       03/20/2011
                                                                                                    05/07/2011

 9 and 11                             Other: The defendant shall not associate with any             11/19/2010
                                      persons engaged in crim inal activity                         06/06/2011

 10                                   New Law Violation: The defendant shall not com m it           06/03/2011
                                      another federal, state, or local crim e

 12                                   Other:     Refrain from excessive use of alcohol              06/06/2011

 13                                   Other: Refrain from possessing a firearm ,                    06/06/2011
                                      destructive device, or other dangerous weapon
        The Defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is im posed
pursuant to the Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. § 3553(a).
        The Defendant has not violated condition(s)            And is discharged as such to such violation(s) condition.
        IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within 30 days of any
change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents im posed by this
judgm ent are fully paid. If ordered to pay m onetary penalties, the defendant shall notify the court and United States
attorney of any m aterial change in the defendant’s econom ic circum stances.


                                                                                       Signed:
                                                                              Date of Im positionJuly 13, 201107/06/2011
                                                                                                  of Sentence:




                 Case 1:04-cr-00117-MR-DLH                         Document 313        Filed 07/13/11       Page 1 of 5
AO 245D (W D N C R ev. 4/04) Judgm ent in a Crim inal C ase for R evocation



Defendant: ROBERT JOHN DAVIDGE                                                                          Judgm ent-Page 2 of 5
Case Num ber: DNCW 104CR000117-008

                                                                  IM PRISONM ENT

        The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a
term of eight (08) m onths.




X         The Court m akes the following recom m endations to the Bureau of Prisons:

          - Participate in any available substance abuse treatm ent program s while incarcerated and if eligible receive
            benefit of 18 U.S.C. § 3621(e)(2).
          - Participate in any available m ental health treatm ent program s.
          - Participate in any educational and vocational opportunities.
          - Participate in the Federal Inm ate Financial Responsibility Program while incarcerated.
          - Court notes that the defendant still has an outstanding balance with regard to his court appointed attorney’s
            fees in the am ount of $2,313.94.

X         The Defendant is rem anded to the custody of the United States Marshal.

          The Defendant shall surrender to the United States Marshal for this District:

                               As notified by the United States Marshal.

                                At___a.m . / p.m . on ___.

          The Defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

                               As notified by the United States Marshal.

                                Before 2 p.m . on ___.

                               As notified by the Probation Office.

                                                                        RETURN

          I have executed this Judgm ent as follows:




       Defendant delivered on __________ to _______________________________________ at
________________________________________, with a certified copy of this Judgm ent.


                                                              ___________________________________________
                    United States Marshal


                                                    By: _______________________________________
                 Case 1:04-cr-00117-MR-DLH                    Document   313 Filed 07/13/11
                                                                  Deputy Marshal                   Page 2 of 5
AO 245D (W D N C R ev. 4/04) Judgm ent in a Crim inal C ase for R evocation



Defendant: ROBERT JOHN DAVIDGE                                                                                                    Judgm ent-Page 3 of 5
Case Num ber: DNCW 104CR000117-008

                                                              SUPERVISED RELEASE

          Upon release from im prisonm ent, the defendant shall be on supervised release for a term of thirty-six (36) m onths.

          The condition for m andatory drug testing is suspended based on the court’s determ ination that the defendant
          poses a low risk of future substance abuse.

                                                STANDARD CONDITIONS OF SUPERVISION

          The defendant shall com ply with the standard conditions that have been adopted by this court and any additional conditions ordered.

1.        The defendant shall not com m it another federal, state, or local crim e.
2.        The defendant shall refrain from possessing a firearm , destructive device, or other dangerous weapon.
3.        The defendant shall pay any financial obligation im posed by this judgment rem aining unpaid as of the com m encem ent of the sentence of
          probation or the term of supervised release on a schedule to be established by the C ourt.
4.        The defendant shall provide access to any personal or business financial inform ation as requested by the probation officer.
5.        The defendant shall not acquire any new lines of credit unless authorized to do so in advance by the probation officer.
6.        The defendant shall not leave the W estern D istrict of N orth C arolina without the perm ission of the C ourt or probation officer.
7.        The defendant shall report in person to the probation officer as directed by the Court or probation officer and shall subm it a truthful and
          com plete written report within the first five days of each m onth.
8.        A defendant on supervised release shall report in person to the probation officer in the district to which he or she is released within 72 hours of
          release from custody of the Bureau of Prisons.
 9.       The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.
10.       The defendant shall support his or her dependents and m eet other fam ily responsibilities.
11.       The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other activities
          authorized by the probation officer.
12.       The defendant shall notify the probation officer within 72 hours of any change in residence or em ploym ent.
13.       The defendant shall refrain from excessive use of alcohol and shall not unlawfully purchase, possess, use, distribute or adm inister any
          narcotic or other controlled substance, or any paraphernalia related to such substances, except as duly prescribed by a licensed physician.
14.       The defendant shall participate in a program of testing and treatm ent or both for substance abuse if directed to do so by the probation officer,
          until such tim e as the defendant is released from the program by the probation officer; provided, however, that defendant shall subm it to a
          drug test within 15 days of release on probation or supervised release and at least two periodic drug tests thereafter for use of any controlled
          substance, subject to the provisions of 18:3563(a)(5) or 18:3583(d), respectively.
15.       The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or adm inistered.
16.       The defendant shall not associate with any persons engaged in crim inal activity, and shall not associate with any person convicted of a felony
          unless granted perm ission to do so by the probation officer.
17.       The defendant shall subm it his person, residence, office, vehicle and/or any com puter system including com puter data storage m edia, or any
          electronic device capable of storing, retrieving, and/or accessing data to which they have access or control, to a search, from tim e to tim e,
          conducted by any U .S. Probation Officer and such other law enforcem ent personnel as the probation officer m ay deem advisable, without a
          warrant. The defendant shall warn other residents or occupants that such prem ises or vehicle m ay be subject to searches pursuant to this
          condition.
18.       The defendant shall perm it a probation officer to visit him or her at any tim e at hom e or elsewhere and shall perm it confiscation of any
          contraband observed by the probation officer.
19.       The defendant shall notify the probation officer within 72 hours of defendant’s being arrested or questioned by a law enforcem ent officer.
20.       The defendant shall not enter into any agreem ent to act as an inform er or a special agent of a law enforcem ent agency without the perm ission
          of the C ourt.
21.       As directed by the probation officer, the defendant shall notify third parties of risks that m ay be occasioned by the defendant’s crim inal record
          or personal history or characteristics, and shall perm it the probation officer to m ake such notifications and to confirm the defendant’s
          com pliance with such notification requirem ent.
22.       If the instant offense was com m itted on or after 4/24/96, the defendant shall notify the probation officer of any m aterial changes in defendant’s
          econom ic circum stances which m ay affect the defendant’s ability to pay any m onetary penalty.
23.       If hom e confinem ent (hom e detention, hom e incarceration or curfew) is included you m ay be required to pay all or part of the cost of the
          electronic m onitoring or other location verification system program based upon your ability to pay as determ ined by the probation officer.
24.       The defendant shall cooperate in the collection of D N A as directed by the probation officer.
25.       The defendant shall participate in transitional support services under the guidance and supervision of the U.S. Probation Officer. The
          defendant shall rem ain in the services until satisfactorily discharged by the service provider and/or with the approval of the U.S. Probation
          O fficer.


ADDITIONAL CONDITIONS:

26.       Subm it to a m ental health evaluation/treatm ent program under the guidance and supervision of the U .S. Probation Office. The defendant shall
          remain in treatm ent and m aintain any prescribed m edications until satisfactorily discharged by the program and with the approval of the U. S.
          Probation Officer.
27.       Throughout the period of supervision the probation officer shall m onitor the defendant’s econom ic circum stances and shall report to the court,
          with recom m endations as warranted, any m aterial changes that affect the defendant’s ability to pay any court ordered penalties.




                 Case 1:04-cr-00117-MR-DLH                          Document 313                Filed 07/13/11             Page 3 of 5
AO 245D (W D N C R ev. 4/04) Judgm ent in a Crim inal C ase for R evocation


Defendant: ROBERT JOHN DAVIDGE                                                                                  Judgm ent-Page 4 of 5
Case Num ber: DNCW 104CR000117-008

                                                      CRIM INAL M ONETARY PENALTIES

The defendant shall pay the following total crim inal m onetary penalties in accordance with the Schedule of Paym ents.


                ASSESSM ENT                                                   FINE                         RESTITUTION

                      $0.00                                               $0.00                                $0.00



                    The determ ination of restitution is deferred until              . An Amended Judgment in a Criminal Case (AO
                    245C) will be entered after such determ ination.

                                                                              FINE


         The defendant shall pay interest on any fine or restitution of m ore than $2,500.00, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgm ent, pursuant to 18 U.S.C. § 3612(f). All of the paym ent options
on the Schedule of Paym ents m ay be subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

                    The court has determ ined that the defendant does not have the ability to pay interest and it is ordered that:


                    The interest requirem ent is waived.

                    The interest requirem ent is m odified as follows:


                                                    COURT APPOINTED COUNSEL FEES

X                   The defendant shall pay court appointed counsel fees from his original conviction in the am ount of
                    $2,313.94, which rem ains due and payable to the U. S. Governm ent. The Court will waive the court
                    appointed counsel fees with regard to this revocation proceeding.




                    The defendant shall pay $                         Towards court appointed fees.




                 Case 1:04-cr-00117-MR-DLH                         Document 313         Filed 07/13/11      Page 4 of 5
AO 245D (W D N C R ev. 4/04) Judgm ent in a Crim inal C ase for R evocation


Defendant: ROBERT JOHN DAVIDGE                                                                                         Judgm ent-Page 5 of 5
Case Num ber: DNCW 104CR000117-008


                                                           SCHEDULE OF PAYM ENTS


Having assessed the defendant’s ability to pay, paym ent of the total crim inal m onetary penalties shall be due as follows:

          A                    Lum p sum paym ent of $                        Due im m ediately, balance due

                               Not later than               , or
                               In accordance             (C),          (D) below; or

          B          X         Paym ent to begin im m ediately (m ay be com bined with                (C),     X (D) below); or

          C                    Paym ent in equal                  (E.g. weekly, m onthly, quarterly) installm ents of $           To
                               com m ence                  (E.g. 30 or 60 days) after the date of this judgm ent; or

          D          X         Paym ent in equal m onthly (E.g. weekly, m onthly, quarterly) installm ents of $ 50.00 To
                               com m ence 90 days (E.g. 30 or 60 days) after release from im prisonm ent to a term of
                               supervision. In the event the entire am ount of crim inal m onetary penalties im posed is not paid
                               prior to the com m encem ent of supervision, the U.S. Probation Officer shall pursue collection of the
                               am ount due, and m ay request the court to establish or m odify a paym ent schedule if appropriate
                               18 U.S.C. § 3572.


Special instructions regarding the paym ent of crim inal m onetary penalties:

          The defendant shall pay the cost of prosecution.
          The defendant shall pay the following court costs:
X         The defendant shall forfeit the defendant’s interest in the following property to the United States:

                    The controlled substances and drug paraphernalia seized by the U. S. Probation office during the search
                    of the residence on 6/6/2011 be destroyed.

Unless the court has expressly ordered otherwise in the special instructions above, if this judgm ent im poses a period of
im prisonm ent paym ent of crim inal m onetary penalties shall be due during the period of im prisonm ent. All crim inal
m onetary penalty paym ents are to be m ade to the United States District Court Clerk, 309 U.S. Courthouse, 100 Otis
Street, Asheville, NC, 28801, except those paym ents m ade through the Bureau of Prisons’ Inm ate Financial Responsibility
Program . All criminal m onetary penalty paym ents are to be m ade as directed by the court.




Paym ents shall be applied in the following order: (1) assessm ent, (2) restitution principal, (3) restitution interest, (4) fine
principal, (5) fine interest, (6) com m unity restitution, (7) penalties, and (8) costs, including cost of prosecution and court
costs.




                 Case 1:04-cr-00117-MR-DLH                         Document 313             Filed 07/13/11        Page 5 of 5
